              Case 18-10222-JDW                       Doc 48         Filed 07/11/19 Entered 07/11/19 16:19:50                Desc Main
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 Fill in this information to identify your case:

 Debtor 1                  Rachael A Thompson
                           First Name                       Middle Name              Last Name

 Debtor 2
 (Spouse if, filing)       First Name                       Middle Name              Last Name


 United States Bankruptcy Court for the:              NORTHERN DISTRICT OF MISSISSIPPI

 Case number            18-10222
 (if known)                                                                                                              Check if this is an
                                                                                                                         amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                            12/15


If you are an individual filing under chapter 7, you must fill out this form if:
    creditors have claims secured by your property, or
  you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
        whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
        on the form

If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must
         sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
        write your name and case number (if known).

 Part 1:        List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
   information below.
    Identify the creditor and the property that is collateral  What do you intend to do with the property that    Did you claim the property
                                                               secures a debt?                                    as exempt on Schedule C?



    Creditor's         First Heritage Credit                                Surrender the property.                     No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a        Yes
    Description of        2-50" Sony TV's ($0), 50" Vizio                   Reaffirmation Agreement.
    property              TV ($0) (never had prior 3                        Retain the property and [explain]:
    securing debt:        items); riding lawn tractor ($0),
                          Dell Desktop computer ($0)
                          (junked prior 3 items); Dell
                          laptop computer ($10, not
                          working)


    Creditor's         Liberty Finance Co., Inc.                            Surrender the property.                     No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a        Yes
    Description of        1055 Latham St. Grenada, MS                       Reaffirmation Agreement.
    property              38901                                             Retain the property and [explain]:
    securing debt:



    Creditor's         Tower Loan of Grenada                                Surrender the property.                     No



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 Debtor 1      Rachael A Thompson                                                                     Case number (if known)    18-10222

    name:                                                                    Retain the property and redeem it.                         Yes

                                                                            Retain the property and enter into a
    Description of      pushmower ($0), notebook ($0)                       Reaffirmation Agreement.
    property            (2nd lien), pushmower ($0),                         Retain the property and [explain]:
    securing debt:      weedeater ($0), desktop
                        computer ($0) (junked); 32"TV
                        $0, 47"TV $0, 50"TV $0, 50"TV
                        (never had)


    Creditor's     West Side Automotive Financial,                          Surrender the property.                                     No
    name:          LLC                                                      Retain the property and redeem it.
                                                                                                                                        Yes
                                                                            Retain the property and enter into a
    Description of      2015 Chevrolet Malibu LT (with                      Reaffirmation Agreement.
    property            over 214,000 miles)                                 Retain the property and [explain]:
    securing debt:



    Creditor's     WWC Finance Inc.                                         Surrender the property.                                     No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a                        Yes
    Description of      2011 Ford Taurus (with over                         Reaffirmation Agreement.
    property            143,000 miles)                                      Retain the property and [explain]:
    securing debt:

 Part 2:   List Your Unexpired Personal Property Leases
For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill
in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

 Describe your unexpired personal property leases                                                                              Will the lease be assumed?

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes



Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                                       page 2

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 Debtor 1      Rachael A Thompson                                                                    Case number (if known)   18-10222


 Lessor's name:                                                                                                                No
 Description of leased
 Property:                                                                                                                     Yes

 Part 3:      Sign Below

Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
property that is subject to an unexpired lease.

 X     /s/ Rachael A Thompson                                                       X
       Rachael A Thompson                                                               Signature of Debtor 2
       Signature of Debtor 1

       Date        July 5, 2019                                                     Date




Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                               page 3

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